Filed 05/11/17   Case 17-21796   Doc 17
Filed 05/11/17                                                                           Case 17-21796                                                                                            Doc 17
     Fill in this information to identify your case:

     Debtor 1                   Armando Covarrubias
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number           2017-21796
     (if known)
                                                                                                                                                                      Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             273,923.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             142,714.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             416,637.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             456,807.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              10,508.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              73,152.00


                                                                                                                                         Your total liabilities $               540,467.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                8,765.05

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,410.05

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 05/11/17                                                             Case 17-21796                                                                  Doc 17
     Debtor 1      Armando Covarrubias                                                        Case number (if known) 2017-21796

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       8,377.05


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            10,508.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

           9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                 0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


           9g. Total. Add lines 9a through 9f.                                                           $             10,508.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
Filed 05/11/17                                                                               Case 17-21796                                                                              Doc 17
     Fill in this information to identify your case and this filing:

     Debtor 1                    Armando Covarrubias
                                 First Name                                 Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number            2017-21796                                                                                                                               Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                                     12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            1474 Tesoro Dr.                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
            Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Manteca                           CA        95337-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $273,923.00                $273,923.00
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              Fee simple
            San Joaquin                                                                    Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                      $273,923.00

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
Filed 05/11/17                                                                        Case 17-21796                                                                          Doc 17
     Debtor 1        Armando Covarrubias                                                                            Case number (if known)    2017-21796
    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1    Make:       Nissan                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Altima                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2011                                            Debtor 2 only                                     Current value of the      Current value of the
             Approximate mileage:            68K/Good                    Debtor 1 and Debtor 2 only                        entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 1474 Tesoro Dr.,
             Manteca CA 95337                                            Check if this is community property                      $12,000.00                  $12,000.00
                                                                         (see instructions)



      3.2    Make:       Dodge                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Ram 1500                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2005                                            Debtor 2 only                                     Current value of the      Current value of the
             Approximate mileage:           151K/Good                    Debtor 1 and Debtor 2 only                        entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 1474 Tesoro Dr.,
             Manteca CA 95337                                            Check if this is community property                        $2,612.00                   $2,612.00
                                                                         (see instructions)



      3.3    Make:       Volvo                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Truck                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2011                                            Debtor 2 only
                                            Vin ending                                                                     Current value of the      Current value of the
             Approximate mileage:                 9317                   Debtor 1 and Debtor 2 only                        entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 1474 Tesoro Dr.,
             Manteca CA 95337                                            Check if this is community property                      $50,000.00                  $50,000.00
                                                                         (see instructions)



      3.4    Make:       Volvo                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:                                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2008                                            Debtor 2 only
                                             vin ending                                                                    Current value of the      Current value of the
             Approximate mileage:                  4283                  Debtor 1 and Debtor 2 only                        entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 1474 Tesoro Dr.,
             Manteca CA 95337                                            Check if this is community property                      $30,000.00                  $30,000.00
                                                                         (see instructions)



      3.5    Make:       Kenworth                                  Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      T660                                            Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
             Year:       2010                                            Debtor 2 only
                                            Vin ending                                                                     Current value of the      Current value of the
             Approximate mileage:                 8098                   Debtor 1 and Debtor 2 only                        entire property?          portion you own?
             Other information:                                          At least one of the debtors and another
             Location: 1474 Tesoro Dr.,
             Manteca CA 95337                                            Check if this is community property                      $28,952.00                  $28,952.00
                                                                         (see instructions)




    Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 2
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Filed 05/11/17                                                                   Case 17-21796                                                                               Doc 17
     Debtor 1       Armando Covarrubias                                                                                 Case number (if known)      2017-21796
    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>           $123,564.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        Furniture & Household Goods
                                        Location: 1474 Tesoro Dr., Manteca CA 95337                                                                                $2,000.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
            No
            Yes. Describe.....

    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
            No
            Yes. Describe.....

    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          No
            Yes. Describe.....

                                        Clothing
                                        Location: 1474 Tesoro Dr., Manteca CA 95337                                                                                  $500.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

                                        Jewelry
                                        Location: 1474 Tesoro Dr., Manteca CA 95337                                                                                  $650.00

    Official Form 106A/B                                                   Schedule A/B: Property                                                                        page 3
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
Filed 05/11/17                                                                                         Case 17-21796                                                                      Doc 17
     Debtor 1          Armando Covarrubias                                                                                              Case number (if known)   2017-21796

    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
            No
            Yes. Describe.....

    14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                                    $3,150.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
            Yes................................................................................................................

    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
            No
            Yes........................                                                               Institution name:

    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes..................                           Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                                   % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
            No
            Yes. List each account separately.
                                    Type of account:                                                  Institution name:

    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                                                Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............              Issuer name and description.

    Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 4
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 05/11/17                                                               Case 17-21796                                                                        Doc 17
     Debtor 1        Armando Covarrubias                                                                     Case number (if known)      2017-21796

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
            No
            Yes. Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

    28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
            No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                            value:

    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
          No
            Yes. Describe each claim.........

                                                          Theft of money in 2015 by Efrain Ramirez $16,000 (probably
                                                          not recoverable) Indeterminate                                                              $16,000.00



    Official Form 106A/B                                                 Schedule A/B: Property                                                               page 5
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
Filed 05/11/17                                                                                Case 17-21796                                                                                  Doc 17
     Debtor 1         Armando Covarrubias                                                                                                   Case number (if known)   2017-21796
    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................              $16,000.00


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.



     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................                 $273,923.00
     56. Part 2: Total vehicles, line 5                                                                         $123,564.00
     57. Part 3: Total personal and household items, line 15                                                      $3,150.00
     58. Part 4: Total financial assets, line 36                                                                 $16,000.00
     59. Part 5: Total business-related property, line 45                                                             $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
     61. Part 7: Total other property not listed, line 54                                             +               $0.00

     62. Total personal property. Add lines 56 through 61...                                                    $142,714.00               Copy personal property total            $142,714.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $416,637.00




    Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
Filed 05/11/17                                                                    Case 17-21796                                                                               Doc 17
     Fill in this information to identify your case:

     Debtor 1                   Armando Covarrubias
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number           2017-21796
     (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
     2.1     BMO HARRIS BANK, NA                      Describe the property that secures the claim:                 $51,749.86               $28,952.00           $22,797.86
             Creditor's Name                          2010 Kenworth T660 Vin ending
                                                      8098 miles
                                                      Location: 1474 Tesoro Dr., Manteca
                                                      CA 95337
                                                      As of the date you file, the claim is: Check all that
             P.O. BOX 71951                           apply.
             Chicago, IL 60694                            Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                           car loan)
         Debtor 2 only
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
           community debt

     Date debt was incurred          2013                      Last 4 digits of account number        5001

     2.2     Stearns Bank                             Describe the property that secures the claim:                 $58,538.14               $50,000.00            $8,538.14
             Creditor's Name                          2011 Volvo Truck Vin ending 9317
                                                      miles
                                                      Location: 1474 Tesoro Dr., Manteca
                                                      CA 95337
                                                      As of the date you file, the claim is: Check all that
             PO BOX 750                               apply.
             Albany, MN 56307                             Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                           car loan)
         Debtor 2 only
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
    Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 05/11/17                                                                       Case 17-21796                                                                      Doc 17

     Debtor 1 Armando Covarrubias                                                                                 Case number (if know)   2017-21796
                   First Name                  Middle Name                      Last Name


           Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
           community debt

     Date debt was incurred                                      Last 4 digits of account number         3093

     2.3     US Bank Auto Finance                       Describe the property that secures the claim:                   $12,015.00          $12,000.00           $15.00
             Creditor's Name                            2011 Nissan Altima 68K/Good miles
                                                        Location: 1474 Tesoro Dr., Manteca
                                                        CA 95337
                                                        As of the date you file, the claim is: Check all that
             1850 Osborn Ave.                           apply.
             Oshkosh, WI 54902                               Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                              car loan)
        Debtor 2 only
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
           community debt

     Date debt was incurred                                      Last 4 digits of account number         9043

     2.4     Volvo Financial Services                   Describe the property that secures the claim:                   $33,504.00          $30,000.00       $3,504.00
             Creditor's Name                            2008 Volvo vin ending 4283 miles
                                                        Location: 1474 Tesoro Dr., Manteca
                                                        CA 95337
                                                        As of the date you file, the claim is: Check all that
             PO BOX 91300                               apply.
             Mobile, AL 36691                                Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                              car loan)
        Debtor 2 only
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
           community debt

     Date debt was incurred                                      Last 4 digits of account number


             Wells Fargo Home
     2.5                                                                                                               $301,000.00         $273,923.00     $27,077.00
             Mortgage                                   Describe the property that secures the claim:
             Creditor's Name                            1474 Tesoro Dr. Manteca, CA 95337
                                                        San Joaquin County
                                                        As of the date you file, the claim is: Check all that
             PO BOX 659568                              apply.
             San Antonio, TX 78265                           Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                              car loan)
        Debtor 2 only
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit




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Filed 05/11/17                                                                    Case 17-21796                                                                           Doc 17

     Debtor 1 Armando Covarrubias                                                                          Case number (if know)   2017-21796
                  First Name                Middle Name                      Last Name


        Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
        community debt

     Date debt was incurred                                   Last 4 digits of account number       4654


       Add the dollar value of your entries in Column A on this page. Write that number here:                           $456,807.00
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                          $456,807.00

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




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